                  Case 10-35511                     Doc 1           Filed 08/09/10 Entered 08/09/10 13:16:01                                                      Desc Main
                                                                      Document     Page 1 of 44
B1 (Official Form 1) (4/10)
                                              United States Bankruptcy Court
                                                Northern District of Illinois                                                                                   Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
        Jaksich, John J
All Other Names used by the Debtor in the last 8 years                                                 All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                            (include married, maiden, and trade names):


Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
(if more than one, state all):                                                                         (if more than one, state all):
        xxx-xx-1137
Street Address of Debtor (No. & Street, City, and State):                                              Street Address of Joint Debtor (No. & Street, City, and State):
        1965 2nd Street
        Highland Park, IL 60035                                            ZIP CODE                                                                                               ZIP CODE
                                                                           60035-0000
County of Residence or of the Principal Place of Business:                                             County of Residence or of the Principal Place of Business:
        Lake--location of principal asset
Mailing Address of Debtor (if different from street address):                                          Mailing Address of Joint Debtor (if different from street address):
        17829 N. Del Webb Blvd.
        Sun City, AZ 85373                                                 ZIP CODE                                                                                               ZIP CODE
                                                                           85373-0000
Location of Principal Assets of Business Debtor (if different from street address above):
              Type of Debtor                                     Nature of Business                                               Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                     (Check one box.)                                            the Petition is Filed (Check one box)
                  (Check one box.)
                                                             Health Care Business
                                                             Single Asset Real Estate as defined in 11                   Chapter 7
                                                             U.S.C. § 101(51B)                                           Chapter 9                            Chapter 15 Petition for Recognition of a
    Individual (includes Joint Debtors)
                                                             Railroad                                                                                         Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                                Chapter 11
                                                             Stockbroker                                                                                      Chapter 15 Petition for Recognition of a
    Corporation (includes LLC and LLP)                                                                                   Chapter 12
                                                             Commodity Broker                                                                                 Foreign Nonmain Proceeding
                                                                                                                         Chapter 13
    Partnership                                              Clearing Bank
    Other (If debtor is not one of the above entities,       Other                                                                                  Nature of Debts
    check this box and state type of entity below.)                                                                                                  (Check one box)
                                                                       Tax-Exempt Entity                                 Debts are primarily consumer debts,                   Debts are primarily
                                                                     (Check box, if applicable.)                         defined in 11 U.S.C. § 101(8) as                      business debts.
                                                             Debtor is a tax-exempt organization under Title             "incurred by an individual primarily for
                                                              26 of the United States Code (the Internal                 a personal, family, or household purpose."
                                                              Revenue Code).
                                Filing Fee (Check one box.)                                            Check one box:                 Chapter 11 Debtors
    Full Filing Fee attached                                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must attach signed          Check if:
    application for the court's consideration certifying that the debtor is unable to pay fee                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
    except in installments. Rule 1006(b). See Official Form 3A.                                        affiliates) are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three
                                                                                                       years thereafter).
                                                                                                       ------------------------------------------------------
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach
                                                                                                       Check all applicable boxes:
    signed application for the court's consideration. See Official Form 3B.
                                                                                                             A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                             in accordance with 11 U.S.C. § 1126(b).
                                                                                                                                                               THIS SPACE IS FOR COURT USE ONLY
Statistical/Administrative Information *** Diane Brazen Gordon 6202185 ***
    Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution to
     unsecured creditors.
Estimated Number of Creditors

 1-49         50-99            100-199       200-999       1,000-         5001-              10,001-           25,001-         50,001-          OVER
                                                           5,000          10,000             25,000            50,000          100,000          100,000
Estimated Assets

 $0 to        $50,001 to       $100,001 to   $500,001      $1,000,001     $10,000,001        $50,000,001       $100,000,001 $500,000,001 More than
 $50,000      $100,000         $500,000      to $1         to $10         to $50             to $100           to $500      to $1 billion $1 billion
                                             million       million         million           million           million
Estimated Debts

 $0 to        $50,001 to       $100,001 to   $500,001      $1,000,001     $10,000,001        $50,000,001       $100,000,001 $500,000,001 More than
 $50,000      $100,000         $500,000      to $1         to $10         to $50             to $100           to $500      to $1 billion $1 billion
                                             million       million         million           million           million
                Case 10-35511                 Doc 1          Filed 08/09/10 Entered 08/09/10 13:16:01                                         Desc Main
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Voluntary Petition                                                                      Name of Debtor(s):
(This page must be completed and filed in every case)                                         John J Jaksich
                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location                                                                                Case Number:                                                Date Filed:
Where Filed:       - None -
Location                                                                                Case Number:                                                Date Filed:
Where Filed:
              Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: - None -                                                                Case Number:                                                Date Filed:

District:                                                                               Relationship:                                               Judge:

                                     Exhibit A                                                                               Exhibit B
                                                                                                               (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K                               whose debts are primarily consumer debts.)
and 10Q) with the Securities and Exchange Commission pursuant to Section 13             I, the attorney for the petitioner named in the foregoing petition, declare that I
or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under          have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
chapter 11.)                                                                            or 13 of title 11, United States Code, and have explained the relief available
                                                                                        under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. § 342(b).
    Exhibit A is attached and made a part of this petition.                              X
                                                                                             Signature of Attorney for Debtor(s)                 Date

                                                                                 Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
    Yes, and Exhibit C is attached and made a part of this petition.
    No

                                                                                 Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
         Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                            Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                 preceding the date of this petition or for a longer part of such 180 days than in any other District.
                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                 has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                 this District, or the interests of the parties will be served in regard to the relief sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                        (Check all applicable boxes.)

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the
                 following.)


                                    (Name of landlord that obtained judgment)

                                    (Address of landlord)

                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                 period after the filing of the petition.

                 Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Voluntary Petition                                                                     Name of Debtor(s):
(This page must be completed and filed in every case)                                     John J Jaksich
                                                                               Signatures
                 Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
      I declare under penalty of perjury that the information provided in this
                                                                                             I declare under penalty of perjury that the information provided in this
      petition is true and correct.
                                                                                             petition is true and correct, that I am the foreign representative of a debtor in
      [If petitioner is an individual whose debts are primarily consumer debts and
                                                                                             a foreign proceeding, and that I am authorized to file this petition.
      has chosen to file under chapter 7] I am aware that I may proceed under
      chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief         (Check only one box.)
      available under each such chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States
      [If no attorney represents me and no bankruptcy petition preparer signs the                Code. Certified copies of the documents required by 11 U.S.C. § 1515
      petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).              are attached.
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                                                 chapter of title 11 specified in this petition. A certified copy of the order
      I request relief in accordance with the chapter of title 11, United States                 granting recognition of the foreign main proceeding is attached.
      Code, specified in this petition.
  X
       Signature of Debtor John J Jaksich                                                X
  X                                                                                           (Signature of Foreign Representative)
       Signature of Joint Debtor
                                                                                              (Printed Name of Foreign Representative)
       Telephone Number (If not represented by attorney)
                                                                                              Date
       Date
                              Signature of Attorney*                                            Signature of Non-Attorney Bankruptcy Petition Preparer
  X
       Signature of Attorney for Debtor(s)
       Diane Brazen Gordon 6202185                                                     I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
       Printed Name of Attorney for Debtor(s)                                          defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
                                                                                       have provided the debtor with a copy of this document and the notices and
       Law Office of Diane Brazen Gordon                                               information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if
       Firm Name                                                                       rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting
       175 Olde Half Day Road                                                          a maximum fee for services chargeable by bankruptcy petition preparers, I have
       Suite 140-4                                                                     given the debtor notice of the maximum amount before preparing any document
       Lincolnshire, IL 60069                                                          for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                       section. Official form 19 is attached.
       Address
                                   Email:dgordon33@hotmail.com
       (847) 383-5647
       Telephone Number                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer

       Date                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual, state
                                                                                             the Social Security number of the officer, principal, responsible person or partner of the
                                                                                             bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.
                                                                                             Address
               Signature of Debtor (Corporation/Partnership)                             X
I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of
the debtor.                                                                               Date
The debtor requests relief in accordance with the chapter of title 11, United States
Code, specified in this petition.
  X                                                                                  Signature of Bankruptcy Petition Preparer or officer, principal, responsible
      Signature of Authorized Individual                                             person, or partner whose social security number is provided above.

       Printed Name of Authorized Individual                                           Names and Social-Security numbers of all other individuals who prepared or
                                                                                       assisted in preparing this document unless the bankruptcy petition preparer is not
       Title of Authorized Individual                                                  an individual
       Date
                                                                                       If more than one person prepared this document, attach additional sheets
                                                                                       conforming to the appropriate official form for each person.

                                                                                       A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the
                                                                                       Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both 11
                                                                                       U.S.C. § 110; 18 U.S.C. § 156.
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
 In re       John J Jaksich                                                                               Case No.
                                                                                       Debtor(s)          Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                     Page 2

                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
              mental deficiency so as to be incapable of realizing and making rational decisions with respect to
              financial responsibilities.);
                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
              unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
              through the Internet.);
                         Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:             /s/ John J Jaksich
                                                                                           John J Jaksich
                                                          Date:           August 6, 2010




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
  In re          John J Jaksich                                                                                  Case No.
                                                                                                            ,
                                                                                           Debtor
                                                                                                                 Chapter                  7




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF        ASSETS               LIABILITIES            OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1               245,000.00


B - Personal Property                                            Yes                3               119,439.80


C - Property Claimed as Exempt                                   Yes                1


D - Creditors Holding Secured Claims                             Yes                1                                      298,123.00


E - Creditors Holding Unsecured                                  Yes                2                                            0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                6                                      138,098.61
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                              2,880.00
    Debtor(s)

J - Current Expenditures of Individual                           Yes                1                                                              3,128.69
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          18


                                                                           Total Assets             364,439.80


                                                                                             Total Liabilities             436,221.61




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
  In re           John J Jaksich                                                                                          Case No.
                                                                                                               ,
                                                                                             Debtor
                                                                                                                          Chapter              7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                       Amount

              Domestic Support Obligations (from Schedule E)                                                           0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                       0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                       0.00

              Student Loan Obligations (from Schedule F)                                                       15,375.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                       0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                       0.00

                                                                                     TOTAL                     15,375.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                            2,880.00

              Average Expenses (from Schedule J, Line 18)                                                          3,128.69

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                              253.12


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                        53,123.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                       0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                             0.00

              4. Total from Schedule F                                                                                                 138,098.61

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             191,221.61




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B6A (Official Form 6A) (12/07)


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  In re          John J Jaksich                                                                                           Case No.
                                                                                                              ,
                                                                                                Debtor

                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                                 Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

condominium located at 1695 Second Street Unit                                       Fee simple                   -                  245,000.00               298,123.00
#402 Highland Park, Illinois 60035; value per
zillow.com July 24, 2010




                                                                                                              Sub-Total >            245,000.00       (Total of this page)

                                                                                                                      Total >        245,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                              (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          John J Jaksich                                                                                             Case No.
                                                                                                                ,
                                                                                               Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              cash in possession                                                     -                              0.00

2.    Checking, savings or other financial                      checking account at M & I Bank                                         -                              3.02
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                        checking account at Wells Fargo-- currently                            -                              0.00
      thrift, building and loan, and                            overdrawn.
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          Household goods, electronics, computer, printer,                       -                        1,000.00
      including audio, video, and                               furniture.
      computer equipment.

5.    Books, pictures and other art                         X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          clothing                                                               -                           500.00

7.    Furs and jewelry.                                         watch                                                                  -                            30.00

8.    Firearms and sports, photographic,                    X
      and other hobby equipment.

9.    Interests in insurance policies.                          term life insurance -- no cash value                                   -                              0.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.




                                                                                                                                       Sub-Total >            1,533.02
                                                                                                                           (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          John J Jaksich                                                                                             Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                          Fidelity Rollover IRA --- ERISA qualified                              -                           335.29
    other pension or profit sharing
    plans. Give particulars.                                    ERISA qualified IRA at PENSCO Trust Company --                         -                     111,646.49
                                                                from prior employment

13. Stock and interests in incorporated                     X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

                                                                                                                                       Sub-Total >        111,981.78
                                                                                                                           (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          John J Jaksich                                                                                             Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          2001 Saab Model 2001-9-3; 58,000 miles; fair                            -                       5,925.00
    other vehicles and accessories.                             condition; value per Kelly Blue Book trade in value
                                                                for same vehicle in fair condition.

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                X

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >            5,925.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >       119,439.80
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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   In re          John J Jaksich                                                                                              Case No.
                                                                                                                  ,
                                                                                                Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                              with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                        Value of                 Current Value of
                    Description of Property                                                Each Exemption                            Claimed                  Property Without
                                                                                                                                    Exemption               Deducting Exemption
Household Goods and Furnishings
Household goods, electronics, computer,                                        735 ILCS 5/12-1001(b)                                          445.00                         1,000.00
printer, furniture.

Wearing Apparel
clothing                                                                       735 ILCS 5/12-1001(a)                                          500.00                           500.00

Furs and Jewelry
watch                                                                          735 ILCS 5/12-1001(b)                                            30.00                            30.00

Interests in Insurance Policies
term life insurance -- no cash value                                           215 ILCS 5/238                                                     0.00                             0.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Fidelity Rollover IRA --- ERISA qualified           735 ILCS 5/12-1006                                                                        335.29                           335.29

ERISA qualified IRA at PENSCO Trust Company                                    735 ILCS 5/12-1006                                       111,646.49                       111,646.49
-- from prior employment

Automobiles, Trucks, Trailers, and Other Vehicles
2001 Saab Model 2001-9-3; 58,000 miles; fair                                   735 ILCS 5/12-1001(c)                                        2,400.00                         5,925.00
condition; value per Kelly Blue Book trade in                                  735 ILCS 5/12-1001(b) Debtor                                 3,525.00
value for same vehicle in fair condition.                                      exempts 100 percent of his interest in
                                                                               the vehicle.




                                                                                                                  Total:                 118,881.78                       119,436.78
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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   In re          John J Jaksich                                                                                                 Case No.
                                                                                                                    ,
                                                                                                   Debtor

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W           NATURE OF LIEN, AND                            I    Q   U                      PORTION, IF
                                                              T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C                OF PROPERTY
                                                              R
                                                                                SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. 2358                                                      Opened 9/01/05 Last Active 9/01/09                          E
                                                                                                                                  D
                                                                      First Mortgage
Amtrust Bank-- Loss Mitigation Dept
                                                                    condominium located at 1695 Second
1801 E 9th St Ste 200
                                                                    Street Unit #402 Highland Park, Illinois
Cleveland, OH 44114
                                                                  - 60035; value per zillow.com July 24,
                                                                    2010
                                                                       Value $                              245,000.00                        261,030.00           16,030.00
Account No.                                                           condominium assessments

Laurel Square Condominium Assoc                                     condominium located at 1695 Second
c/o Braeside Group                                                  Street Unit #402 Highland Park, Illinois
660 Lasalle Place, Suite 2C                                         60035; value per zillow.com July 24,
                                                                  - 2010
Highland Park, IL 60035

                                                                       Value $                              245,000.00                          5,446.00             5,446.00
Account No. 2868                                                      Opened 9/01/05 Last Active 8/01/09
                                                                      Home Equity Line of Credit
National City now part of PNC
                                                                    condominium located at 1695 Second
4661 E Main St
                                                                    Street Unit #402 Highland Park, Illinois
Columbus, OH 43213
                                                                  - 60035; value per zillow.com July 24,
                                                                    2010
                                                                       Value $                              245,000.00                         31,647.00           31,647.00
Account No.




                                                                       Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            298,123.00           53,123.00
                                                                                                                 (Total of this page)
                                                                                                                           Total              298,123.00           53,123.00
                                                                                                 (Report on Summary of Schedules)

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  In re          John J Jaksich                                                                                                    Case No.
                                                                                                                      ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1          continuation sheets attached
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   In re          John J Jaksich                                                                                               Case No.
                                                                                                                  ,
                                                                                                   Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        (Continuation Sheet)


                                                                                                                           Domestic Support Obligations
                                                                                                                                        TYPE OF PRIORITY
                                                              C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                 O                                                            O    N   I                      AMOUNT NOT
                                                              D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                               B   W
                                                                           AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                           OF CLAIM
           AND ACCOUNT NUMBER                                 T   J                                                        N    U   T                                AMOUNT
                                                              O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                             R   C                                                        E    D   D
                                                                                                                           N    A
                                                                                                                                                                     PRIORITY
                                                                                                                           T    T
Account No.                                                           child support -- current-- no arrearage                   E
                                                                                                                                D

Nancy Goldstein
1251 North Ridge Rd.                                                                                                                                       0.00
Highland Park, IL 60035
                                                                  -

                                                                                                                                                   0.00                    0.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                   Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                        (Total of this page)                0.00                    0.00
                                                                                                                           Total                           0.00
                                                                                                 (Report on Summary of Schedules)                  0.00                    0.00

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   In re          John J Jaksich                                                                                         Case No.
                                                                                                                     ,
                                                                                                   Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 9871                                                                    insurance bill                                          T   T
                                                                                                                                                E
                                                                                                                                                D

Allied Insurance
P.O. Box 10479                                                                  -
Des Moines, IA 50306-0479

                                                                                                                                                                         133.55
Account No. N10000140399                                                            traffic violation fine

Arizona Department of Public Safety
c/o Traffic Enforcement Office                                                  -
P.O. Box 6018
Phoenix, AZ 85005
                                                                                                                                                                         181.50
Account No. 9494                                                                    medical bill

Arrowhead Hospital
18701 N. 67th Avenue                                                            -
Glendale, AZ 85308

                                                                                                                                                                       4,354.52
Account No. 8964                                                                    Opened 3/17/99 Last Active 1/01/10
                                                                                    Credit card purchases
Bank Of America
Po Box 17054                                                                    -
Wilmington, DE 19850

                                                                                                                                                                     32,057.00

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                   36,726.57
                                                                                                                              (Total of this page)




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   In re          John J Jaksich                                                                                         Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
                                                                                W
                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 0170                                                                    medical bill                                            E
                                                                                                                                            D

Banner Boswell Medical Center
P.O. Box 18                                                                     -
Phoenix, AZ 85001

                                                                                                                                                                  173.38
Account No. 3179                                                                    medical bill

Banner Boswell Medical Center
P.O. Box 18                                                                     -
Phoenix, AZ 85001

                                                                                                                                                                5,074.30
Account No. 7434                                                                    July 2010
                                                                                    medical bill
Cardio Vascular Consultants
P.O. Box 98819                                                                  -
Las Vegas, NV 89193

                                                                                                                                                                  325.00
Account No. 7897                                                                    medical bill-- duplicate of Stanislaus Credit
                                                                                    Control Service - notice only
CEPMG dba AZ Emergency
Physicians                                                                      -
P.O. Box 582663
Modesto, CA 95358-0046
                                                                                                                                                                      0.00
Account No. 6214                                                                    medical bill

CEPMG dba AZ Emergency
Physicians                                                                      -
P.O. Box 582663
Modesto, CA 95358-0046
                                                                                                                                                                  631.00

           1
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                6,203.68
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          John J Jaksich                                                                                         Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 1186                                                                    Opened 12/01/91 Last Active 11/01/09                    E
                                                                                    Credit card purchases                                   D

Chase
Po Box 15298                                                                    -
Wilmington, DE 19850

                                                                                                                                                              40,433.00
Account No. 8964                                                                    collection for Bank of America and FIA Card
                                                                                    Services
Collectcorp Corporation
455 North 3rd Street, Suite 260                                                 -
Phoenix, AZ 85004-3924

                                                                                                                                                                      0.00
Account No. 6782                                                                    medical bill -- collection for Baner Boswel
                                                                                    Medical Center -- notice only
Collection Service Bureau
2901 N. 78th Street                                                             -
Scottsdale, AZ 85251

                                                                                                                                                                      0.00
Account No. 0026                                                                    electric utility

Com Ed
P.O. Box 6111                                                                   -
Carol Stream, IL 60197-6111

                                                                                                                                                                  178.24
Account No. 7293                                                                    cable/internet -- utility

Comcast
P.O. Box 3002                                                                   -
Southeastern, PA 19398-3002

                                                                                                                                                                  203.56

           2
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                              40,814.80
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          John J Jaksich                                                                                          Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                       C   U   D
                    CREDITOR'S NAME,                                        O                                                            O   N   I
                    MAILING ADDRESS                                         D   H                                                        N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND                T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM            N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.            G   I   E
                   (See instructions above.)                                R                                                            E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. 7457                                                                    collection for Allied Insurance -- notice only           E
                                                                                                                                             D

Credit Collection Services
Two Wells Avenue, Dept. 9134                                                    -
Newton Center, MA 02459

                                                                                                                                                                       0.00
Account No. 7293                                                                    collection for Comcast -- notice only

Credit Protection Association
13355 Noel Road                                                                 -
Dallas, TX 75240

                                                                                                                                                                       0.00
Account No. 1186                                                                    notice only -- collection for Chase

Creditors Interchange
80 Holtz Drive                                                                  -
Buffalo, NY 14225

                                                                                                                                                                       0.00
Account No.                                                                         personal loan

Delores Jaksich
17829 North Del Webb Blvd                                                       -
Sun City, AZ 85373

                                                                                                                                                               30,000.00
Account No. 4928                                                                    duplicate of Bank of America

FIA Card Services
P.O. Box 15028                                                                  -
Wilmington, DE 19850-5026

                                                                                                                                                                       0.00

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                               30,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)




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   In re          John J Jaksich                                                                                         Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 2490                                                                    balance of automobile lease; automobile was             E
                                                                                    returned in 2007.                                       D

GMAC
P.O. Box 380902                                                                 -
Minneapolis, MN 55438

                                                                                                                                                                2,792.43
Account No. EP 96639                                                                medical bills

NorthShore University HealthSystem
9532 Eagle Way                                                                  -
Chicago, IL 60678

                                                                                                                                                                  536.00
Account No. 9411                                                                    medical bill

Northshore University Healthsystem
Hospital Billing                                                                -
23056 Network Place
Chicago, IL 60673-1230
                                                                                                                                                                3,686.00
Account No. 501N1                                                                   Opened 3/01/10 Last Active 1/01/10
                                                                                    medical-- duplicate of CEPMG dba AZ
Stanislaus Credit Control Service                                                   Emergency Physicians
914 14th St                                                                     -
P.O. Box 480
Modesto, CA 95354-1011
                                                                                                                                                                  218.00
Account No. 3876                                                                    medical bill

Sun City Imaging
P.O. Box 27340                                                                  -
Phoenix, AZ 85061-7340

                                                                                                                                                                  404.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                7,636.43
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          John J Jaksich                                                                                               Case No.
                                                                                                                      ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. 1371                                                                    Opened 3/16/10                                                 E
                                                                                    Educational                                                    D

Us Dept Of Education
Po Box 5609                                                                     -
Greenville, TX 75403

                                                                                                                                                                     15,375.00
Account No. 3514                                                                    overdrawn checking account

Wells Fargo
P.O. Box 5058                                                                   -
Portland, OR 97208-5058

                                                                                                                                                                       1,342.13
Account No.




Account No.




Account No.




           5
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     16,717.13
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)              138,098.61


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B6G (Official Form 6G) (12/07)


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  In re             John J Jaksich                                                                                    Case No.
                                                                                                           ,
                                                                                           Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                            Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                 State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                       State contract number of any government contract.

                     AT & T                                                                   cell phone contract
                     P.O. Box 8100
                     Aurora, IL 60507

                     AT & T
                     P.O. Box 7951
                     Westbury, NY 11590

                     AT & T Mobility
                     P.O. Box 6428
                     Carol Stream, IL 60197-6428

                     GMAC                                                                     balace of automobile lease; duplicate of lease
                     P.O. Box 380902                                                          listed-- notice only
                     Bloomington, MN 55438

                     Gmac Automotive Bank                                                     Acct# 611910821147
                     2000 Town Ctr Ste 2200                                                   Opened Opened 12/02/06 Last Active 10/29/09
                     Southfield, MI 48075                                                     Automobile lease-- vehicle surrendered in 2007




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          John J Jaksich                                                                              Case No.
                                                                                                      ,
                                                                                           Debtor

                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

 In re    John J Jaksich                                                                                Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               Daughter                                                    15
                                             Daughter                                                    19
Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Yoga Instructor
Name of Employer                    LA Fitness
How long employed                   4 months
Address of Employer                 18295 North 83rd Ave
                                    Glendale, AZ 85308
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                   SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $        180.00          $          N/A
2. Estimate monthly overtime                                                                             $          0.00          $          N/A

3. SUBTOTAL                                                                                              $             180.00     $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $               0.00     $                 N/A
     b. Insurance                                                                                        $               0.00     $                 N/A
     c. Union dues                                                                                       $               0.00     $                 N/A
     d. Other (Specify):                                                                                 $               0.00     $                 N/A
                                                                                                         $               0.00     $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $               0.00     $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             180.00     $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $                 N/A
8. Income from real property                                                                             $               0.00     $                 N/A
9. Interest and dividends                                                                                $               0.00     $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $                 N/A
                                                                                                         $               0.00     $                 N/A
12. Pension or retirement income                                                                         $               0.00     $                 N/A
13. Other monthly income
(Specify):           independent yoga teacher                                                            $           150.00       $                 N/A
                     student financial aid                                                               $         2,550.00       $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         2,700.00       $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,880.00       $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            2,880.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Debtor is going to school to obtain a degree in counseling and anticipates earning more money in that field at some
         point in the future. Debtor is currently living with his mother and expects to move out and either buy or rent a place
         to live.
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B6J (Official Form 6J) (12/07)

 In re    John J Jaksich                                                                      Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                     0.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                     0.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                     0.00
                   d. Other                                                                                 $                     0.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   400.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                     0.00
7. Medical and dental expenses                                                                              $                   200.00
8. Transportation (not including car payments)                                                              $                   150.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    20.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                   133.69
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                    60.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                   500.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other cell phone                                                                                        $                   115.00
    Other school tuition and books                                                                          $                 1,500.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 3,128.69
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 2,880.00
b. Average monthly expenses from Line 18 above                                                              $                 3,128.69
c. Monthly net income (a. minus b.)                                                                         $                  -248.69
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                     Document     Page 26 of 44
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
 In re       John J Jaksich                                                                                    Case No.
                                                                                          Debtor(s)            Chapter    7




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of               20
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date August 6, 2010                                                          Signature   /s/ John J Jaksich
                                                                                          John J Jaksich
                                                                                          Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                         Northern District of Illinois
 In re       John J Jaksich                                                                                    Case No.
                                                                                         Debtor(s)             Chapter        7


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $940.00                                 2010 YTD: Debtor; LA Fitness -- Yoga instructor
                          $302.00                                 2010 YTD: Debtor; Independent Yoga instructor
                          $98,406.00                              2009: Debtor; wages from yoga instruction at Equinox Fitness and independent
                                                                  yoga instruction, IRA distributions, and unemployment compensation
                          $92,200.00                              2008; Debtor; wages from prior employment at Carlyle Group, wages from yoga
                                                                  instruction at Equinox Fitness, independent yoga instruction, and unemployment
                                                                  compensation




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               2. Income other than from employment or operation of business

     None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE

               3. Payments to creditors

     None      Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                              DATES OF                                              AMOUNT STILL
       OF CREDITOR                                                                PAYMENTS                       AMOUNT PAID              OWING

     None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                      AMOUNT
                                                                                  DATES OF                             PAID OR
                                                                                  PAYMENTS/                          VALUE OF           AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                                  TRANSFERS                         TRANSFERS             OWING

     None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                                   DATE OF PAYMENT                AMOUNT PAID              OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

     None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                           NATURE OF        COURT OR AGENCY                            STATUS OR
    AND CASE NUMBER                                                           PROCEEDING       AND LOCATION                               DISPOSITION
    Amtrust Bank, a division of New York                                      Complaint to     In the Circuit Court for the 19th          pending
    Community Bank v. John J. Jaksich, case no. 10                            Foreclose        Judicial Circuit, Lake County,
    CH 00020                                                                  Mortgage         Waukegan-Illinois

     None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 NAME AND ADDRESS OF PERSON FOR WHOSE                                                               DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                               DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                         DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                       FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                      TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                         AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                              OF PROPERTY
 Law Office of Diane Brazen Gordon                                              July 22, 2010                          $1000.00
 175 Olde Half Day Road
 Suite 140-4
 Lincolnshire, IL 60069
 Law Office of Diane Brazen Gordon                                              November 24, 2009                      $500.00
 175 Olde Half Day Road
 Suite 140-4
 Lincolnshire, IL 60069
 Law Office of Diane Brazen Gordon                                              August 6, 2010                         $299.00 (filing fee)
 175 Olde Half Day Road
 Suite 140-4
 Lincolnshire, IL 60069

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                                 DATE                             AND VALUE RECEIVED
 Sanctuary Yoga LLC                                                           Jan.1, 2009-March 31,   Debtor opened a yoga business and transferred
 502 Sheridan Road                                                            2009                    $29,039 into the business to open the business;
 Highwood, IL 60040                                                                                   debtor sold his one third share of the business
    Debtor's yoga business                                                                            to his partners on August 30, 2009 for
                                                                                                      $26,518.00. The funds debtor invested into the
                                                                                                      business were from a loan made to debtor by his
                                                                                                      mother. Debtor used the proceeds from the sale
                                                                                                      of the business to pay reasonable and
                                                                                                      customary living expenses, and medical
                                                                                                      expenses.
 Jewelry Buyers                                                               March 5, 2010           Debtor sold diamond engagement ring for $3500
 Scottsdale, AZ                                                                                       and used the money to pay reasonable and
                                                                                                      necessary living expenses.

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                               AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)             IN PROPERTY




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               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                 TYPE OF ACCOUNT, LAST FOUR
                                                                                 DIGITS OF ACCOUNT NUMBER,              AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                AND AMOUNT OF FINAL BALANCE                       OR CLOSING
 Northwest Mutual                                                               whole life insurance                    Debtor redeemed whole life
                                                                                                                        insurance policy on March 22,
                                                                                                                        2010 in the amount of
                                                                                                                        $6353.33 and used the funds
                                                                                                                        to pay reasonable and
                                                                                                                        necessary living expenses,
                                                                                                                        income taxes, and
                                                                                                                        automobile repairs.

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                  DESCRIPTION                  DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                  OF CONTENTS                   SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY             LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                               DATES OF OCCUPANCY
 1965 2nd Street                                                                                                        from 2004 to Sept. 1, 2009
 Highland Park, Illinois 60035                                                                                          (property currently owned by
                                                                                                                        Debtor and in foreclosure)




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               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                   NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                          STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.




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                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                    NATURE OF BUSINESS            ENDING DATES
 Sanctuary Yoga LLC                 XX-XXXXXXX                            502 Sheridan Road          Yoga business-- debtor        opened for business
                                                                          Highwood, IL 60040         owned one third interest      approx. March 1,
                                                                                                     in the business               2009 and debtor sold
                                                                                                                                   his interest August,
                                                                                                                                   2009

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED
 John Jaksich
 17829 N. Del Webb
 Sun City, AZ 85373

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                 ADDRESS                                               DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                          ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                   DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                            DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                    INVENTORY SUPERVISOR                                  (Specify cost, market or other basis)




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    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                         RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                             NATURE OF INTEREST                       PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                              NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                             TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                            ADDRESS                                             DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                             TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                                DATE AND PURPOSE                         OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                       OF WITHDRAWAL                            VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date August 6, 2010                                                          Signature        /s/ John J Jaksich
                                                                                               John J Jaksich
                                                                                               Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
 In re       John J Jaksich                                                                                        Case No.
                                                                                          Debtor(s)                Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Amtrust Bank-- Loss Mitigation Dept                                                       condominium located at 1695 Second Street Unit #402
                                                                                           Highland Park, Illinois 60035; value per zillow.com July 24,
                                                                                           2010

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                      Lease will be Assumed pursuant to 11
 AT & T                                                          cell phone contract                            U.S.C. § 365(p)(2):
                                                                                                                   YES              NO

 Property No. 2

 Lessor's Name:                                                  Describe Leased Property:                      Lease will be Assumed pursuant to 11
 GMAC                                                            balace of automobile lease; duplicate of U.S.C. § 365(p)(2):
                                                                 lease listed-- notice only                  YES              NO


 Property No. 3

 Lessor's Name:                                                  Describe Leased Property:                      Lease will be Assumed pursuant to 11
 Gmac Automotive Bank                                            Acct# 611910821147                             U.S.C. § 365(p)(2):
                                                                 Opened Opened 12/02/06 Last Active                YES              NO
                                                                 10/29/09
                                                                 Automobile lease-- vehicle surrendered
                                                                 in 2007




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I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date August 6, 2010                                                          Signature   /s/ John J Jaksich
                                                                                          John J Jaksich
                                                                                          Debtor




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                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
 In re       John J Jaksich                                                                                        Case No.
                                                                                          Debtor(s)                Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                      $                  1,500.00
              Prior to the filing of this statement I have received                                            $                  1,500.00
              Balance Due                                                                                      $                      0.00

2.     $    299.00         of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       August 6, 2010                                                              /s/ Diane Brazen Gordon
                                                                                          Diane Brazen Gordon 6202185
                                                                                          Law Office of Diane Brazen Gordon
                                                                                          175 Olde Half Day Road
                                                                                          Suite 140-4
                                                                                          Lincolnshire, IL 60069
                                                                                          (847) 383-5647
                                                                                          dgordon33@hotmail.com




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF ILLINOIS
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Illinois
 In re       John J Jaksich                                                                                        Case No.
                                                                                       Debtor(s)                   Chapter        7


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 John J Jaksich                                                                          X /s/ John J Jaksich                            August 6, 2010
 Printed Name(s) of Debtor(s)                                                              Signature of Debtor                           Date

 Case No. (if known)                                                                     X
                                                                                             Signature of Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                 United States Bankruptcy Court
                                                                         Northern District of Illinois
 In re       John J Jaksich                                                                                    Case No.
                                                                                         Debtor(s)             Chapter    7




                                                       VERIFICATION OF CREDITOR MATRIX

                                                                                               Number of Creditors:                                 54




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:      August 6, 2010                                                    /s/ John J Jaksich
                                                                              John J Jaksich
                                                                              Signature of Debtor




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 Vital Recovery Services, Inc.            Allied Insurance                    Amtrust Bank
P.O. Box 923748                           P.O. Box 10479                      1801 E 9th Street
Norcross, GA 30010-3748                   Des Moines, IA 50306-0479           Cleveland, OH 44114




AmTrust Bank                              AmTrust Bank                        Amtrust Bank-- Loss Mitigation De
P.O. Box 790376                           1111 Chester Avenue                 1801 E 9th St Ste 200
Saint Louis, MO 63179-0376                Cleveland, OH 44114                 Cleveland, OH 44114




Arizona Department of Public Safety       Arrowhead Hospital                  AT & T
c/o Traffic Enforcement Office            18701 N. 67th Avenue                P.O. Box 8100
P.O. Box 6018                             Glendale, AZ 85308                  Aurora, IL 60507
Phoenix, AZ 85005



AT & T                                    AT & T Mobility                     Bank Of America
P.O. Box 7951                             P.O. Box 6428                       Po Box 17054
Westbury, NY 11590                        Carol Stream, IL 60197-6428         Wilmington, DE 19850




Bank of America                           Bank of America                     Banner Boswell Medical Center
4060 Ogletown Stanton Rd                  P.O. Box 15027                      P.O. Box 18
Newark, DE 19713-3102                     Wilmington, DE 19850-5027           Phoenix, AZ 85001




Cardio Vascular Consultants               CEPMG dba AZ Emergency Physicians   Chase
P.O. Box 98819                            P.O. Box 582663                     Po Box 15298
Las Vegas, NV 89193                       Modesto, CA 95358-0046              Wilmington, DE 19850




Chase                                     Chase                               Chase
P.O. Box 15153                            Bankruptcy Correspondence           800 Brooksedge Blvd
Wilmington, DE 19886                      P.O. Box 15298                      Westerville, OH 43081
                                          Wilmington, DE 19850-5298



Chase                                     Codilis and Associates, P.C.        Collectcorp Corporation
Attn: Bankruptcy Dept.                    15 W030 North Frontage Road         455 North 3rd Street, Suite 260
P.O. Box 100018                           Suite 100                           Phoenix, AZ 85004-3924
Kennesaw, GA 30156                        Burr Ridge, IL 60527



Collection Service Bureau                 Com Ed                              Comcast
2901 N. 78th Street                       P.O. Box 6111                       P.O. Box 3002
Scottsdale, AZ 85251                      Carol Stream, IL 60197-6111         Southeastern, PA 19398-3002
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Comcast                                Credit Collection Services          Credit Protection Association
1 Comcast Center                       Two Wells Avenue, Dept. 9134        13355 Noel Road
Philadelphia, PA 19103                 Newton Center, MA 02459             Dallas, TX 75240




Creditors Interchange                  Delores Jaksich                     FIA Card Services
80 Holtz Drive                         17829 North Del Webb Blvd           P.O. Box 15028
Buffalo, NY 14225                      Sun City, AZ 85373                  Wilmington, DE 19850-5026




GMAC                                   GMAC                                GMAC
P.O. Box 380902                        P.O. Box 9001951                    P.O. Box 13024
Minneapolis, MN 55438                  Louisville, KY 40290-1951           Roseville, MN 55113




GMAC                                   Gmac Automotive Bank                Laurel Square Condominium Assoc
P.O. Box 380902                        2000 Town Ctr Ste 2200              c/o Braeside Group
Bloomington, MN 55438                  Southfield, MI 48075                660 Lasalle Place, Suite 2C
                                                                           Highland Park, IL 60035



Nancy Goldstein                        National City                       National City
1251 North Ridge Rd.                   P.O. Box 3038 K-A16-1J              P.O. Box 5570
Highland Park, IL 60035                Kalamazoo, MI 49003-3038            Cleveland, OH 44101-0570




National City Bank                     National City Mortgage              National City Mortgage
P.O. Box 500\K-A16-2J                  P.O. Box 1024                       6 N Main St
Portage, MI 49081                      Dayton, OH 45401-1024               Dayton, OH 45402




National City now part of PNC          National City/PNC                   NorthShore University HealthSystem
4661 E Main St                         P.O. Box 856177                     9532 Eagle Way
Columbus, OH 43213                     Louisville, KY 40285-6177           Chicago, IL 60678




Northshore University Healthsystem     Stanislaus Credit Control Service   Sun City Imaging
Hospital Billing                       914 14th St                         P.O. Box 27340
23056 Network Place                    P.O. Box 480                        Phoenix, AZ 85061-7340
Chicago, IL 60673-1230                 Modesto, CA 95354-1011



Us Dept Of Education                   Vital Recovery Services             Wells Fargo
Po Box 5609                            P.O. Box 92347                      P.O. Box 5058
Greenville, TX 75403                   Norcross, GA 30010-3747             Portland, OR 97208-5058
